Case 19-17707-mdc        Doc 21     Filed 05/14/20 Entered 05/14/20 12:59:33        Desc Main
                                    Document     Page 1 of 2




                            UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   IN RE:                                      :
                                               :
            Anthony S. Bruttaniti              :       Case No.: 19-17707(MDC)
                                               :
            Debtor(s)                          :       Chapter 13


            RESPONSE OF DEBTOR TO THE MOTION FOR RELIEF OF AUTOMATIC
                 STAY FILED BY SPECIALIZED LOAN SERVICING, LLC et al


            COMES NOW, Debtor, Anthony S. Bruttaniti, hereinafter referred to as “Debtor,” by
   and through their undersigned Counsel, Brad J. Sadek, Esquire, and in response to the Motion
   for Relief filed by Specialized Loan Servicing, LLC et al, “Movant”, and hereby avers the
   following:

            1.     Admitted.

            2.     Admitted.

            3.     Admitted.

            4.     Admitted

            5.     Admitted.

            6.     Admitted.

            7.     Admitted.

            8.     Admitted.

            9.     Admitted.

            10.    Denied. By way of further response, Debtor made three payments to creditor
                   through bill pay as requested by mortgagee in January, February and March
                   which were all returned.

            11.    Denied.
Case 19-17707-mdc     Doc 21   Filed 05/14/20 Entered 05/14/20 12:59:33       Desc Main
                               Document     Page 2 of 2



         12.    Denied.

         WHEREFORE, based on the aforementioned, Movant shall be denied an Order
   modifying the Automatic Stay under Bankruptcy Code Section 362.



                                                   Respectfully submitted,

   Dated: May 14, 2020                             /s/ Brad J. Sadek, Esq.
                                                   Brad J. Sadek, Esq.
                                                   Attorney for the Debtor
                                                   Sadek & Cooper
                                                   1315 Walnut Street, #502
                                                   Philadelphia, PA 19107
                                                   (215) 545-0008
